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 1                          UNITED STATES DISTRICT COURT
 2                       NORTHERN DISTRICT OF CALIFORNIA
 3
 4
     TWITTER, INC.                                 Case No. 3:21-CV-01644

 5                   Plaintiff,
 6
     v.                                            [PROPOSED ORDER]
 7
 8 KEN PAXTON,
     in his official capacity as Attorney
 9 General of Texas,
10
                     Defendant.
11
12
            The Court, having considered the MOTION OF REPORTERS COMMITTEE
13
14 FOR FREEDOM OF THE PRESS, ELECTRONIC FRONTIER FOUNDATION,
15 MEDIA LAW RESOURCE CENTER, INC., CENTER FOR DEMOCRACY AND
16
     TECHNOLOGY, AND PEN AMERICA TO FILE AMICI CURIAE BRIEF IN
17
18 SUPPORT OF PLAINTIFF, hereby GRANTS the motion. The BRIEF OF AMICI

19 CURIAE BRIEF OF REPORTERS COMMITTEE FOR FREEDOM OF THE
20
     PRESS, ELECTRONIC FRONTIER FOUNDATION, MEDIA LAW RESOURCE
21
22 CENTER, INC., CENTER FOR DEMOCRACY AND TECHNOLOGY, AND PEN
23 AMERICA is accepted for filing.
24
     SO ORDRED.
25
26
27
     Dated:                                                   __________
28
                                               1
                   [PROPOSED] ORDER GRANTING LEAVE TO FILE AMICI CURIAE BRIEF
                                      CASE NO. 3:21-CV-01644
